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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

United States of America
                                                                No. GLR-19-0015
vs.
WILLIAM HICKEY


               Defendant
                                  _______________________
                         MOTION TO EXTEND REPORTING DATE


       Defendant William Hickey, through counsel, Andrew C. White, hereby moves this

Honorable Court to extend his reporting date to commence service of his sentence and states as

follows:

       1.       On December 23, 2020, this Court sentenced the Defendant to, among other

things, 20 months incarceration. The Court allowed the defendant to self- surrender and ordered

that the defendant report to commence service of sentence on Thursday, March 19, 2020.

       2.       The Bureau of Prisons has recently designated the defendant to report to FPC

Lewisburg, located in Pennsylvania.

       3.       As the Court is aware, the defendant has a wife and two young daughters. His

wife recently gained a State license to operate a day care facility and the family was relying on

that income to support themselves in Mr. Hickey’s absence.

       4.       Given the current Coronavirus pandemic and the uncertain effect that the National

Emergency will have on Mr. Hickey’s family both in terms of income and health, he respectfully
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requests that his reporting date be rescheduled so that he can care for his family through the

course of this ongoing crisis.

       5.       According a statement from the White House within the past hour, government

officials expect that the Coronavirus crisis could stretch into August. See

https://www.cnbc.com/2020/03/16/trump-admits-that-coronavirus-crisis-could-stretch-into-july-

or-august.html. Given the uncertainty surrounding this unprecedented National Emergency and

the fact that Mr. Hickey needs to care for his wife and daughters, we respectfully submit that he

should be allowed to extend his reporting date by six months, to September 19, 2020.

       6.       For these reasons the Defendant respectfully requests, that the Court extend his

reporting date to Friday, September 18, 2020.



       WHEREFORE, the Defendant respectfully requests that the Court extend his reporting

date to September 18, 2020.



                                      Respectfully submitted,


                                      ____________/s/_______________________
                                      Andrew C. White
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 16th day of March, 2020, a copy of the foregoing was
e-filed via ECF and a copy sent to Judson Mihok, Assistant United States Attorney, 36 South
Charles Street, 4th Floor, Baltimore, MD 21201.


                            ___________/s/_______________________
                            Andrew C. White
